Case 1:16-cv-00375-AJT-JFA Document 262-2 Filed 02/15/19 Page 1 of 8 PageID# 9038




                                 Exhibit B
Case 1:16-cv-00375-AJT-JFA Document 262-2 Filed 02/15/19 Page 2 of 8 PageID# 9039




Transcript of Matthew J. DeSarno,
   Designated Representative
                                 Date: April 9, 2018
                       Case: El Hady, et al. -v- Kable, et al.




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                               Transcript of Matthew J. DeSarno, Designated Representative                                 1 (1 to 4)

                                               Conducted on April 9, 2018
                                                              1                                                                         3

1                UNITED STATES DISTRICT COURT                     1           A P P E A R A N C E S
2                EASTERN DISTRICT OF VIRGINIA                     2    ON BEHALF OF THE PLAINTIFFS, ANAS ELHADY, ET
3                      ALEXANDRIA DIVISION                        3    AL.:
4    ---------------------------------X                           4    GADEIR ABBAS, ESQUIRE
5    ANAS ELHADY, ET AL.,                   :                     5    LENA MASRI, ESQUIRE
6                         Plaintiffs,       :                     6    CAROLYN HOMAN, ESQUIRE
                                                Case No.:
7       v.                                  :                     7    COUNCIL ON AMERICAN-ISLAMIC RELATIONS
                                                16-CV-00375
8    CHARLES H. KABLE, DIRECTOR OF          :                     8    453 New Jersey Avenue, S.E.

9    THE TERRORIST SCREENING CENTER;        :                     9    Washington, D.C. 20003

10   IN HIS OFFICIAL CAPACITY, ET AL.,:                           10 202.488.0833

11                        Defendants.       :                     11

12   ---------------------------------X                           12 ON BEHALF OF THE DEFENDANTS, CHARLES H. KABLE,

13 Deposition of The Federal Bureau of Investigations             13 DIRECTOR OF THE TERRORIST SCREENING CENTER;

14           by and through its representative,                   14 IN HIS OFFICIAL CAPACITY, ET AL.:

15                      MATTHEW J. DESARNO                        15 AMY E. POWELL, ESQUIRE

16                       Washington, D.C.                         16 U.S. DEPARTMENT OF JUSTICE CIVIL DIVISION

17                  Monday, April 9, 2018                         17 20 Massachusetts Avenue, NW

18                          10:06 a.m.                            18 Washington, D.C. 20530

19                                                                19 202.514.9836

20   Job No.: 184986                                              20

21   Pages: 1-399                                                 21

22   Reported by: Matthew Goldstein, RPR                          22




                                                              2                                                                         4

1        Deposition of MATTHEW J. DESARNO, held at:               1    A P P E A R A N C E S       C O N T I N U E D
2                                                                 2             ALSO PRESENT:
3                                                                 3             JAYME KANTOR, ESQ -
4              Department of Justice                              4             FEDERAL BUREAU OF INVESTIGATION
5              20 Massachusetts Avenue, NW                        5
6              Washington, D.C. 20001                             6             CIPORA KLIONSKY, ESQ -
7                                                                 7             FEDERAL BUREAU OF INVESTIGATION
8                                                                 8
9                                                                 9             KEVIN BOGUCKI, ESQ -
10                                                                10            TERRORIST SCREENING CENTER
11       Pursuant to Notice, before Matthew Goldstein,            11
12 RPR, Notary Public in and for the District of                  12            JENNIFER GREENBAND, ESQ -
13 Columbia.                                                      13            TRANSPORTATION   SECURITY ADMINISTRATION
14                                                                14
15                                                                15
16                                                                16
17                                                                17
18                                                                18
19                                                                19
20                                                                20
21                                                                21
22                                                                22




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                              Transcript of Matthew J. DeSarno, Designated Representative             2 (5 to 8)

                                              Conducted on April 9, 2018
                                                            5                                                      7
1                      C O N T E N T S                          1           P ROCEEDINGS
2    EXAMINATION OF MATTHEW J. DESARNO               PAGE       2 Whereupon,
3                                                                           MATTHEW J. DESARNO,
                                                                3
4    By MR. ABBAS                                      7
                                                                4 being first duly sworn or affirmed to testify to
5    By MS. POWELL                                   116
                                                                5 the truth, the whole truth, and nothing but the
6    By MR. ABBAS                                    117
                                                                6 truth, was examined and testified as follows:
7    By MS. POWELL                                   120
                                                                7     EXAMINATION BY COUNSEL FOR THE PLAINTIFFS
8    By MR. ABBAS                                    121
9    By MS. POWELL                                   184
                                                                8 BY MR. ABBAS:
10 By MR. ABBAS                                      185        9      Q. Please state your full legal name for
11 By MS. POWELL                                     259        10 the record.
12 By MR. ABBAS                                      260        11 A. Matthew J. DeSarno.
13 By MS. POWELL                                     323        12 Q. Mr. DeSarno, why are you here today?
14 By MR. ABBAS                                      323        13 A. I'm here for a deposition related to
15 By MS. POWELL                                     324        14 the -- testifying on behalf of the FBI related to
16 By MR. ABBAS                                      325
                                                                15 a watchlisting suit.
17 By MS. POWELL                                     383
                                                                16 Q. You understand that your testimony today
18 By MR. ABBAS                                      384
                                                                17 is binding on the agency?
19 By MS. POWELL                                     390
                                                                18 A. Yes.
20 By MR. ABBAS                                      391
21 By MS. POWELL                                     393
                                                                19 Q. What is the Watchlisting Advisory
22 By MR. ABBAS                                      393        20 Council?
                                                                21 A. The Watchlisting Advisory Council is an
                                                                22 advisory council made up of the member agencies
                                                            6                                                      8
1    By MS. POWELL                                   394        1 involved in the U.S. government watchlisting
2    By MR. ABBAS                                    394        2 process. The advisory council meets I believe
3                      E X H I B I T S
                                                                3 quarterly to discuss gaps in the watchlisting
4                         (Attached)
                                                                4 process, improvements to the watchlisting process,
5    DESARNO          DEPOSITION EXHIBIT             PAGE
                                                                5 and to provide recommendations to the Homeland
6
      Exhibit A      Notice of 30(b)(6) Deposition    44        6 Security Council as part of the NCS for proposed
7                    of Defendant FBI
8     Exhibit B      Overview of the U.S.            237
                                                                7 modifications to watchlisting guidelines.
9
                     Government's Watchlisting
                     Process and Procedures
                                                                8     Q. Who created the Watchlisting Advisory
10
                                                                9 Council?
11                                                              10        MS. POWELL: Objection; vague.
12                                                              11        MR. ABBAS: I withdraw my question.
13                                                              12 BY  MR.  ABBAS:
14                                                              13 Q. What is the FBI's role in the
15                                                              14 Watchlisting Advisory Council?
16                                                              15 A. The FBI is one of the member agencies
17
                                                                16 who sits on the Council. And we send a
18
                                                                17 representative to the advisory council meetings.
19
                                                                18 Q. Are all representatives to the
20
21
                                                                19 Watchlisting Advisory Council coequal?
22
                                                                20 A. Meaning do they all have equal vote; is
                                                                21 that the question?
                                                                22 Q. That was not the question.
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                    Transcript of Matthew J. DeSarno, Designated Representative             28 (109 to 112)

                                    Conducted on April 9, 2018
                                              109                                                     111
1 So if someone is on the watchlist, I don't know     1 prior testimony. If I'm wrong, tell me I'm wrong.
2 that information that put them on that watchlist,   2         THE WITNESS: Yeah, I would not
3 I don't know whether it did or did not come from    3 characterize it as the FBI -- the whole FBI has
4 TSA. I don't know what information may have come    4 access to the whole TSDB, that is not accurate.
5 from TSA. There may be information from TSA in      5 BY MR. ABBAS:
6 lots of investigative case files and lots of        6      Q. Does the FBI have access to the
7 watchlisting nominations. I don't know what         7 identifying information of the TSDB?
8 information did or did not come from TSA.           8         MS. POWELL: Objection; vague and
9 BY MR. ABBAS:                                       9 misleading.
10 Q. Is it your understanding -- TSDB                10        THE WITNESS: The FBI has the access,
11 information is not SSI protected; correct?         11 the TSDB pushes information to the FBI in
12        MS. POWELL: Objection; calls for a          12 Sentinel, in the case management system, and in
13 legal conclusions.                                 13 NCIC. That information can be viewed if queried
14 Q. Who owns TSDB information?                      14 in those systems.
15        MS. POWELL: Objection; vague.               15 BY MR. ABBAS:
16 Q. The FBI has no position as to who owns          16 Q. So when an act of terrorism happens
17 TSDB information?                                  17 inside the United States --
18        MS. POWELL: Objection; vague.               18 A. Yes.
19        THE WITNESS: I mean, it's my opinion        19 Q. -- the FBI has the ability to determine
20 that TSC owns TSDB information.                    20 whether the perpetrator of the act of terrorism
21 BY MR. ABBAS:                                      21 was or was not in the TSDB at the time they commit
22 Q. Great. Okay.                                    22 an act of terrorism; correct?
                                              110                                                     112
1     A. The TSC is an interagency function.          1     A. Yes.
2     Q. And the FBI possess TSDB information it      2     Q. And the FBI could query the NCIC to
3 gets from TSC; correct?                             3 determine whether the perpetrator of the act of
4         MS. POWELL: Objection; vague,               4 terrorism inside the United States was or was not
5 misleading.                                         5 in the TSDB at the time they committed their act
6         THE WITNESS: I think I previously           6 of terrorism; correct?
7 testified to the ways that TSC pushes TSDB          7          MS. POWELL: Objection; mischaracterizes
8 information to the FBI.                             8 prior testimony, vague.
9 BY MR. ABBAS:                                       9          THE WITNESS: So I previously testified
10 Q. Okay. So TSDB status is shared by TSC           10 that if an act of terrorism occurs, the FBI will
11 with the FBI and other agencies; correct?          11 absolutely be interested in whether or not the
12        MS. POWELL: Objection; vague,               12 person was watchlisted.
13 misleading.                                        13 BY MR. ABBAS:
14        THE WITNESS: TSDB status?                   14 Q. And you could query the NCIC to
15 BY MR. ABBAS:                                      15 determine whether the person was watchlisted;
16 Q. Yes. Whether someone is or is not in            16 correct?
17 the TSDB -- I'll just withdraw it.                 17         MS. POWELL: Objection; mischaracterizes
18        The FBI knows -- has access to the          18 prior testimony, vague, and misleading.
19 entire contents of the TSDB; correct?              19         THE WITNESS: That's accurate.
20        MS. POWELL: Objection; mischaracterizes     20 BY   MR.   ABBAS:
21 prior testimony.                                   21 Q. Okay. Is the NCIC -- does the NCIC
22        MR. ABBAS: I'm not referring to his         22 contain SSI information?
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                     Transcript of Matthew J. DeSarno, Designated Representative               29 (113 to 116)

                                     Conducted on April 9, 2018
                                                 113                                                    115
1          MS. POWELL: Objection; calls for a           1      A. Not specifically through NCIC. I know
2 legal conclusion.                                     2 that in some states, you can access through a
3          THE WITNESS: I don't know.                   3 portal -- through your state portal, you can
4 BY MR. ABBAS:                                         4 access a suite of tools which include NCIC and may
5      Q. Okay.                                         5 include something like LexisNexis or some public
6      A. That's a legal call. I don't know.            6 records type system in the same portal, but I
7      Q. Fair. Okay.                                   7 don't think that they're part of NCIC, though.
8          Is it the FBI's position that the status     8      Q. Does the FBI regulate in any way which
9 of individuals on the watchlist is SSI                9 private databases are made available through NCIC?
10 information?                                         10         MS. POWELL: Objection; mischaracterizes
11         MS. POWELL: Objection; calls for a           11 prior testimony.
12 legal conclusion. There is, in fact, a TSA reg on    12         THE WITNESS: They're not made available
13 this.                                                13 through NCIC.
14         MR. ABBAS: Go ahead.                         14 BY MR. ABBAS:
15         THE WITNESS: Yeah, I don't have -- I         15     Q. You indicated that some --
16 don't  know    the answer to that. That's a legal    16     A. Different states have different
17 question.                                            17 interfaces to the system. Some of those
18 BY MR. ABBAS:                                        18 interfaces include a menu of -- a menu of choices
19 Q. Who aside from law enforcement agencies           19 and some of those choices are likely public
20 have access to NCIC?                                 20 records checks and private systems as well.
21 A. I don't know of any people that are not           21     Q. Who decides what private systems are
22 affiliated with a law enforcement agency that have   22 included in those menu of choices that you're
                                                 114                                                    116
1 access to NCIC.                                       1    referring to?
2      Q. Do any private entities have access to        2        A. The FBI does not decide that.
3 NCIC?                                                 3        Q. So state and local authorities do?
4      A. I'm not aware of any private entities         4        A. Yes, likely.
5 that have carte blanche access to NCIC or have law    5        Q. Okay. Great.
6 enforcement access to NCIC.                           6            MR. ABBAS: 30 minutes for lunch?
7      Q. Does any private entity have any type of      7            MS. POWELL: Yes.
8 access to NCIC?                                       8            (Luncheon recess from the record.)
9      A. Not that I'm aware of.                        9          AF TERN O O N S ES S IO N
10     Q. Okay.                                         10                  (1:00 p.m.)
11     A. I'm not aware of any.                         11           THE REPORTER: So this is the court
12     Q. So when you said "carte blanche," that's      12   reporter and we have been on the record for two
13 where I'm -- is there some access that private       13   and hours nine minutes.
14 entities are given?                                  14           MS. POWELL: I propose asking a couple
15     A. Not that I'm aware of inside NCIC, no.        15   of clarifying questions with respect to prior
16 But as I testified previously, NCIC pulls in from    16   testimony.
17 a lot of different systems and some of those may     17    MATTHEW J. DESARNO,
18 have some private access to a specific system that   18      having been previously sworn, resumed the
19 NCIC's pulling from, but I don't know of any         19      stand and testified further as follows:
20 private entities that have access to NCIC.           20      EXAMINATION BY COUNSEL FOR THE DEFENDANTS
21     Q. Does the NCIC provide access to any           21   BY MS. POWELL:
22 private databases?                                   22       Q. First, Mr. DeSarno, you previously
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Case 1:16-cv-00375-AJT-JFA Document 262-2 Filed 02/15/19 Page 7 of 8 PageID# 9044
                            Transcript of Matthew J. DeSarno, Designated Representative                           30 (117 to 120)

                                            Conducted on April 9, 2018
                                                         117                                                               119
1 testified that the FBI knows how many user                   1 BY MR. ABBAS:
2 accounts there are for NCIC. Can you explain what            2      Q. And just -- and that's fine.
3 that means?                                                            And just to clarify, does the -- I asked
                                                               3
4        A. So that's how many individual ORIs
                                                               4 you if you knew, but let me ask -- you're here as
5    exist, which an ORI is an originating record
6    identifier. So an ORI can belong to a department          5 the FBI.
7    or to a specific station to a terminal so the FBI         6         Does the FBI know how many times the
8    can track the ORIs. And then it's up to the               7 NCIC database has been queried?
9    individual departments to issue access to the ORI         8         MS. POWELL: Objection; scope and
10   and they have a responsibility to have an                 9 potentially vague.
11   auditable process.                                        10        THE WITNESS: Yeah, I don't know.
12       Q. All right.
                                                               11 BY  MR.  ABBAS:
13           MR. ABBAS: Can I ask him a question on
14   that?
                                                               12 Q. Does the FBI know how many times each
15           MS. POWELL: Sure.                                 13 individual -- I'm sorry.
16   EXAMINATION BY COUNSEL FOR THE PLAINTIFFS (CONT'D)        14        Does the FBI know how many NCIC queries
17   BY MR. ABBAS:                                             15 are generated by each ORI?
18       Q. So the FBI doesn't know how many                   16 A. I would expect that they do, but I
19   individual persons as part of their state and
                                                               17 haven't seen that audit report. But I -- I think
20   local law enforcement responsibilities query the
     NCIC; correct?
                                                               18 that that is -- can be audited and confirmed.
21
        A. I guess that's correct. I mean, I would
                                                               19 Q. Okay. But today sitting here, you don't
22
                                                               20 know?
                                                               21 A. I don't know specifically.
                                                               22 Q. Okay.
                                                         118                                                           120
1 imagine there is some process, some probably                 1            MR. ABBAS: Okay.
2 exhaustive, burdensome process that if they needed           2    EXAMINATION BY COUNSEL FOR THE DEFENDANTS (CONT'D)
                                                               3    BY MS. POWELL:
3 to know how many individual users had accessed
                                                               4        Q. And the second question was you
4 each ORI, it's probably able to be found, but the            5    previously testified that the TSDB is a tool to
5 tracking exists to the ORI.                                  6    prevent terrorist attacks by providing a common
6     Q. And ORI stands for what?                              7    operating picture and we objected to the provision
7     A. Originating record identifier.                        8    of any specific examples. With that objection
8     Q. Does the number of -- does the FBI know               9    remaining in place and without sharing any
9 the number of NCIS -- I'm sorry --                           10   privileged information, can you provide any other
          MS. POWELL: That would be different.                 11   information about how the FBI uses it to prevent
10
                                                               12   terrorist attacks?
11 Q. Does the FBI know the number of NCIC
                                                               13       A. Sure. So TSDB information combined in
12 inquiries that are made of NCIC?                            14   some cases with encounter information and other
13        MS. POWELL: Objection; vague, but --                 15   investigative information or intelligence, that
14 Q. Do you know how many times the NCIC has                  16   body of information and evidence and intelligence
15 been queried?                                               17   combined with other potentially -- with other
16        MS. POWELL: Same objection.                          18   sources can inform investigative strategy,
17        THE WITNESS: Yeah, I don't know. I                   19   disruption strategy, prevention of terrorism
                                                               20   strategy. So when taken together and combined
18 mean, there is -- there are audit -- there's an
                                                               21   with other information, it can help us to be more
19 audit unit and there are audit -- regular audits                 preventive in our work.
                                                               22
20 so I would expect that there are records of that,
21 but I don't know the answer to it.
22
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Case 1:16-cv-00375-AJT-JFA Document 262-2 Filed 02/15/19 Page 8 of 8 PageID# 9045
                        Transcript of Matthew J. DeSarno, Designated Representative                 31 (121 to 124)

                                        Conducted on April 9, 2018
                                                       121                                                   123
1    EXAMINATION BY COUNSEL FOR THE PLAINTIFFS (CONT'D)      1 traffic stop to the TSC for a decision, TSC would
2    BY MR. ABBAS:                                           2 push to FBI if applicable.
3        Q. In your answer, are you referring to
                                                             3 BY MR. ABBAS:
4    specific instances when TSDB information combined
                                                             4      Q. How does the local law enforcement
5    with other information has prevented an act of
6    terrorism?                                              5 officer know to contact the TSC if that local law
7            MS. POWELL: To the extent that's a              6 enforcement officer pulls over during a traffic
8    yes-or-no question --                                   7 stop a TSDB listee?
9            MR. ABBAS: It is.                               8      A. So if a local law enforcement officer
10           MS. POWELL: -- you can answer.                  9 runs NCIC, the NCIC return from the KST will tell
11           MR. ABBAS: It is a yes-or-no question.
                                                             10 the local law enforcement officer -- depending on
12           THE WITNESS: No.
13   BY MR. ABBAS:
                                                             11 the entry would tell the local law enforcement
14       Q. Okay. Great.                                     12 officer different things which would frequently
15           Okay. Is the -- the FBI keeps track of          13 include contact the TSC. Part of that contact is
16   the number of times a person in the TSDB is             14 also to resolve the identity, whether or not this
17   encountered with -- I'm sorry.                          15 person that's stopped is actually a match, an
18           The FBI receives information about              16 identity match to a person on the TSDB.
19   encounters with persons on the TSDB from other          17 Q. Why is it of interest to the FBI whether
20   government agencies; correct?
                                                             18 a local law enforcement officer has pulled over a
21           MS. POWELL: Objection; vague.
22           THE WITNESS: In some instances, yes.
                                                             19 person that's listed in the TSDB?
                                                             20        MS. POWELL: Objection; vague,
                                                             21 potentially mischaracterizes prior testimony, and
                                                             22 misleading.
                                                       122                                                   124
1 BY MR. ABBAS:                                              1         MR. ABBAS: I'll withdraw the question.
2      Q. When a local police officer pulls                  2 BY MR. ABBAS:
3 someone over and queries the TSDB -- I'm sorry.            3     Q. Is the FBI interested in tracking
4         When a local law enforcement pulls                 4 encounters with TSDB listees?
5 someone over and queries NCIC, if that person that         5         MS. POWELL: Potentially calls for law
6 was pulled over is in TSDB, does the FBI learn of          6 enforcement sensitive information.
7 the local law enforcement traffic stop?                    7         You can answer at a level of generality.
8         MS. POWELL: Objection; vague and                   8         THE WITNESS: I mean, as I testified
9 potentially misleading.                                    9 just previously, the encounter information when
10        THE WITNESS: Not necessarily. If the               10 combined with other investigative information can
11 local law enforcement officer gets a hit to the           11 inform strategies, disruption efforts, and other
12 KST file, it would likely be directed to the TSC          12 investigative steps that are appropriate with
13 to make a notification. So depending on what's in         13 regards to specific terrorism subjects.
14 that record typically the call would go to the            14 BY MR. ABBAS:
15 24-hour call center at the TSC. The TSC would             15 Q. Has an encounter with a TSDB listee ever
16 then make an assessment as to what to do with that        16 resulted in a terrorism-related arrest?
17 information.                                              17        MS. POWELL: Objection.
18        In many instances if this occurs inside            18        I'm going to instruct the witness not to
19 the United States, there would be a notification          19 answer on the grounds of the law enforcement
20 to the FBI, but there are instances where it may          20 privilege, also vague and potentially misleading.
21 not. The other -- I mean, the -- so that                  21 Q. Do you know whether an encounter with a
22 basically explains a U.S. -- a continental U.S.           22 person in the TSDB has ever led to a
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